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                                  UNITED STATES OF AMERICA
                                UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                Case No. 1:16-cr-00036
                                    )
v.                                  )                Honorable Paul L. Maloney
                                    )
RAMIRO CAMPOS,                      )
                                    )
            Defendant.              )
____________________________________)


                               REPORT AND RECOMMENDATION

        Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned case on

August 26, 2016, after receiving the written consent of defendant and all counsel. At the hearing,

defendant Ramiro Campos entered a plea of guilty to Count 1 of the Second Superseding Indictment

in exchange for the undertakings made by the government in the written plea agreement. In Count

1 of the Second Superseding Indictment, defendant is charged with conspiracy to distribute and

possess with intent to distribute a substance containing cocaine in violation of 21 U.S.C. §§ 846,

841(a) and(b)(1)(B). On the basis of the record made at the hearing, I find that defendant is fully

capable and competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a

sufficient basis in fact.
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       Accordingly, I recommend that defendant's plea of guilty to Count 1 of the Second

Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the

written plea agreement be considered for acceptance at the time of sentencing. Acceptance of

the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

specifically reserved for the district judge.



Date: August 26, 2016                            /s/ Phillip J. Green
                                                PHILLIP J. GREEN
                                                United States Magistrate Judge




                                      NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See
W.D. MICH. L.CR.R. 11.1(d).




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